Case 2:04-cr-20396-.]PI\/| Document 30 Filed 07/07/05 Page 1 of 2 Page|D 43

 

m THE UNITED STATES DISTRICT cOURT men making
FOR THE wESWTEESRTl\JTERI§ISDTIRVIICSTIOOl\]F TENNESSEE 05 JUL _.' PH 3: 119
UNITED STATES OF AMERICA, w OF;;€BE,M]S

Plaintiff,
V. NO. 04-20396 Ml
KEITHON ROBINSON,

Defendant.

 

ORDER GRANTING MO'I`ION FOR C‘ONTINUANCE

 

Before the Court is a Motion for Continuance filed by the
Defendant on July 7, 2005. The motion is hereby GRANTED and the

Sentencing in this matter is RESET to Monda Au ust 1 2005 at

 

8:45 a.m.

I'I' IS SO ORDERED this 7 day Of July, 2005.

0 M>M

JO PHIPPS MCCALLA
'I'ED STATES DISTRICT JUDGE

 

Thle document entered en the docket sheet ln compllence

_,

with Ru\e 55 end/or 32(b) FRCrP on 2 ’g Q O

     

UNITED sTATE DRISTIC COUR - W"'RNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20396 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Mein St.

Ste. 800

Memphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

